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                 ORAL ARGUMENT NOT YET SCHEDULED
                      No. 23-1157 (and consolidated cases)


                   UNITED STATES COURT OF APPEALS
                        FOR THE D.C. CIRCUIT


                           STATE OF UTAH, et al.,

                                            Petitioners,

                                       v.

                ENVIRONMENTAL PROTECTION AGENCY, et al.,

                                            Respondents.


            On Petitions for Review of a Final Agency Action of the
                     U.S. Environmental Protection Agency
                      88 Fed. Reg. 36,654 (June 5, 2023)

  BRIEF OF AMICI CURIAE THE AMERICAN THORACIC SOCIETY
           AND THE AMERICAN LUNG ASSOCIATION
               IN SUPPORT OF RESPONDENTS

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     CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

         Pursuant to D.C. Circuit Rule 28(a)(1)(A), the American Thoracic Society and

American Lung Association submit this certificate as to parties, rulings, and related

cases.

A.       Parties and Amici

         All parties, intervenors, and amici appearing in this Court are listed in the

Opening Brief of State Petitioners and the Initial Brief of the Federal Respondents.

B.       Rulings Under Review

         References to the agency action under review appear in the Initial Brief of the

Federal Respondents.

C.       Related Cases

         References to related cases appear in the Initial Brief of the Federal

Respondents.

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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rules of Appellate Procedure 26.1 and 29(a)(4)(A), the

American Thoracic Society and American Lung Association state that they do not

have parent companies and that no publicly held company has a 10% or greater

ownership interest in either organization.

Dated: June 24, 2024

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                    D.C. CIRCUIT RULE 29(d) STATEMENT

      Counsel for amici curiae the American Thoracic Society and the American

Lung Association certify, pursuant to Circuit Rule 29(d), that a separate brief is

necessary to provide the Court with the perspective and expertise held by both

organizations. These amici have particular expertise in respiratory health, which is

directly relevant to the agency action under review. Thus, amici curiae, through

counsel, certify that it would not be practicable to file a joint brief.

Dated: June 24, 2024

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                          STATEMENT OF INTEREST

      The American Thoracic Society is an international non-profit organization of

more than 16,000 physicians, scientists, nurses, and healthcare professionals

dedicated to the detection, prevention, treatment, and cure of respiratory disease,

critical care illnesses, and sleep-disordered breathing. The Society and its members

lead cutting-edge scientific research, advance global health, and transform patient

care through advocacy and the publication of four peer-reviewed journals on

pulmonary health. The Society’s members also provide direct clinical care to

patients uniquely susceptible to the adverse effects of ozone pollution, including

pediatric patients and patients with chronic respiratory disease.

      The American Lung Association is the nation’s oldest voluntary health

organization, founded 120 years ago. The Lung Association works to save lives by

improving lung health and preventing lung disease. This includes activities to

advocate for reducing air pollution and its accompanying threats to lung health

through implementation and enforcement of federal, state, and local laws protecting

air quality. The Lung Association publishes many reports on air pollution, most

notably its annual “State of the Air” report. The Lung Association has long

advocated specifically for full implementation of the Clean Air Act and its

amendments to help ensure that everyone can breathe safe and healthy air.




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      Amici are concerned about the danger that ozone pollution poses to public

health, particularly for children, who are especially susceptible to harm from ozone

pollution. Amici submit this brief to explain the serious public health implications

of ozone pollution in both the short and long term, on all populations, and on specific

populations who bear the greatest burden from continued ozone pollution. They also

submit this brief to explain the costs that can come from failing to adequately

regulate ozone pollution; to underscore that the Federal “Good Neighbor Plan” for

the 2015 Ozone National Ambient Air Quality Standards, 88 Fed. Reg. 36,654 (June

5, 2023) (the “Good Neighbor Plan,” or “the Plan”), is a meaningful and important

response to the ozone pollution crisis. Given amici’s medical, scientific, and policy

expertise, they support implementation of the Good Neighbor Plan and urge the

Court to recognize EPA’s authority under the Clean Air Act to regulate ozone

emissions in this manner.1




1
  No party’s counsel authored this brief in whole or in part, and no party nor party’s
counsel contributed money that was intended to fund preparation or submission of
this brief. Likewise, no other individual or organization other than amici or their
counsel contributed money that was intended to fund preparation or submission of
this brief. This brief is filed with a motion to participate as amicus, in compliance
with Federal Rule of Appellate Procedure 29(a)(3).

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                                  INTRODUCTION

      Ozone is a dangerous ambient air pollutant. Breathing ozone-polluted air

causes inflammation and injury to the lungs within days. While ozone can harm

healthy people, children suffer disproportionately. Large, peer-reviewed studies,

including studies based in the United States, have consistently documented the

effects of even short-term ozone exposure on asthma. These effects are reflected in

increases in the number of children requiring emergency department care and

hospitalization, some of whom have symptoms severe enough to require treatment

in an intensive care unit. Adults, too, are affected by exposure to ozone pollution.

Among adults, ozone exposure is linked to development and exacerbation of asthma,

acute respiratory distress syndrome, and, most seriously, death.

      In promulgating the Good Neighbor Plan, EPA appropriately recognized the

harms ozone pollution poses to public health and acted to better protect the health of

communities downwind of ozone-producing states. The American Thoracic Society

and American Lung Association submit this brief to underscore the Plan’s

consistency with the Clean Air Act’s public health mandate, to explain the danger

ozone pollution poses to human health, and to address several arguments made by

Petitioners and their amici that seek to call the utility of the Plan into question. Given

the dangers ozone pollution currently poses and will continue to pose without

appropriate regulation, the Plan must be upheld and the pending petitions denied.



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                                  ARGUMENT

I.    The Good Neighbor Plan facilitates compliance with the Clean
      Air Act’s public health mandate.

      A.    The Clean Air Act establishes a cooperative federalism
            scheme with a federal backstop to protect public health.

      The Clean Air Act directs EPA to establish limits for pollutants that “may

reasonably be anticipated to endanger public health and welfare.” 42 U.S.C.

§ 7408(a)(1)(A). EPA must establish national standards for six “criteria pollutants”

that contain an “adequate margin of safety,” given the susceptibility of particular

vulnerable groups to air pollution. Id. § 7409(b)(1).2 These standards are to be set

without regard to cost. See Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 471

(2001). The Act’s so-called “Good Neighbor Provision” recognizes the transient

nature of air pollution and requires states to ensure that their emissions do not

“contribute significantly to nonattainment in” downwind states or “interfere with

maintenance” of the ozone standards in other states. 42 U.S.C. § 7410(a)(2)(D)(i).

      The Clean Air Act’s cooperative federalism approach generally leaves it to

states to decide how best to attain and maintain compliance with the national

standards and with the Good Neighbor Provision. See id. § 7410. But when the states

fall short, EPA must step in. Id. § 7410(a)(1), (c)(1); see EPA v. EME Homer City



2
 See Michelle L. Bell et al., Who is More Affected by Ozone Pollution? A Systematic
Review and Meta-Analysis, 180 Am. J. Epidemiology 15, 15–28 (2014).

                                         4
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Generation, L.P., 572 U.S. 489, 508 (2014) (“Once EPA has found a [state plan]

inadequate, the Agency has a statutory duty to issue a [federal plan].”). In that regard,

EPA acts as a backstop responsible for ensuring that the Clean Air Act’s public

health mandate is carried out.

        B.    EPA created the Good Neighbor Plan to ensure compliance
              with national ozone standards.

        Ground-level ozone forms when nitrogen oxides and volatile organic

compounds react with heat and sunlight.3 Some of those so-called “precursor

pollutants” are naturally produced,4 but most are human-generated—emitted by

vehicles, fossil fuel power plants, and factories.5

        Because ozone forms when precursor pollutants interact with heat and

sunlight, more ozone tends to form when temperatures are warmer and during the

daytime.6 Although precursor pollutants can sometimes be traced to particular



3
 See Daniela Nuvolone et al., The Effects of Ozone on Human Health, 25 Env’t Sci.
& Pollution Rsch. 8074, 8074 (2017).
4
 See Xiao Lu et al., Air Pollution, Climate, and Health: An Integrated Perspective
on Their Interactions 15, 15–21 (Meng Gao et al. eds., 2021).
5
  See What is Ozone?, EPA, https://www.epa.gov/ozone-pollution-and-your-
patients-health/what-ozone (last updated June 20, 2024); 2020 EPA Nat’l Emissions
Inventory, https://enviro.epa.gov/envirofacts/embed/nei?pType=TIER&pReport=
nation&pState=&pPollutant=&pPollutant=NOX&pTier=&pYear=2020&pCounty
=&pSector=&pWho=NEI (last updated Mar. 15, 2023) (filtered for nitrogen oxides);
NEI Search, EPA, https://enviro.epa.gov/envirofacts/nei/search/.
6
    What is Ozone?, supra note 5.

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sources, wind and weather patterns can affect their dispersal, causing the pollutants

and resulting ozone to travel far beyond the point of creation.7 This can cause

elevated ozone levels even in rural areas and in the early evening or at night.8

        As Part II of this brief explains, ground-level ozone pollution endangers

public health. Ozone is one of six criteria pollutants for which EPA establishes

National Ambient Air Quality Standards. See National Ambient Air Quality

Standards for Ozone, 80 Fed. Reg. 65,292 (Oct. 26, 2015). Because continuing

scientific research has shown greater health harms from ozone levels even lower

than was previously known, national standards for ozone have become more

stringent over time. In 2015, EPA revised the ozone standards to 70 parts per billion

(ppb), down from the 75-ppb standards set in 2008. Id. at 65,292. The states were

then required to prepare implementation plans that would ensure attainment with the

updated federal standards and compliance with the Good Neighbor Provision. 42

U.S.C. § 7410(a)(1), (a)(2)(D)(i).

        When 23 states failed to prepare adequate plans, EPA prepared a federal

plan—the Good Neighbor Plan—to ensure that precursor pollution in those states

would not significantly contribute to non-attainment of the federal ozone standards


7
 See A.K. Gorai et al., Influence of Local Meteorology and NO2 Conditions on
Ground-Level Ozone Concentrations in the Eastern Part of Texas, USA, 8 Air Qual.
Atmos. Health 81, 81–82 (2015).
8
    See What is Ozone?, supra note 5.

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in other states. 88 Fed. Reg. at 36,654. In issuing the Plan, EPA appropriately

recognized the dangers ozone pollution poses to public health. Id. at 36,658. The

Plan should be upheld.

II.   Ground-level ozone endangers public health in the United States.

      In general, “ozone is good up high, bad nearby.”9 Unlike ozone in the

stratosphere, which blocks ultra-violet rays, ground-level ozone can seriously affect

human health and well-being. It causes respiratory harm and can disturb metabolic

processes, affect birth outcomes, create nervous system issues, reduce fertility, and

affect heart health.10

      The effects of ozone pollution on respiratory health are especially

pronounced. As explained below, short-term exposure totaling eight hours or fewer

can impair lung function11 in otherwise healthy people and is associated with higher



9
  E.g., Ozone, Am. Lung Ass’n, https://www.lung.org/clean-air/outdoors/what-
makes-air-unhealthy/ozone (last updated Apr. 17, 2024); Ground-level Ozone
Basics, EPA, https://www.epa.gov/ground-level-ozone-pollution/ground-level-
ozone-basics (last updated May 14, 2024).
10
   Integrated Science Assessment for Ozone and Related Photochemical Oxidants,
EPA,           Table           ES-1,        ES-6,         (Apr.         2020)
https://assessments.epa.gov/risk/document/&deid=348522#downloads        (click
“Integrated Science Assessment (ISA) for Ozone and Related Photochemcial
Oxidants (Apr 2020)”).
11
   A person’s “lung function” reflects the amount of air they can take in on one
breath, as well as the speed with which they can exhale it. See Lung Function Tests,
Am. Lung Ass’n, https://www.lung.org/lung-health-diseases/lung-procedures-and-
tests/lung-function-tests (last updated June 7, 2024).

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rates of respiratory emergency department visits and hospitalization, especially

among children.12 Long-term exposure to ozone pollution is dangerous too and has

been linked to the development of new disease, the exacerbation of existing disease,

and death.

         A.    Short-term ozone exposure can cause immediate damage
               and harm children disproportionately.

         Ozone is a powerful lung irritant. Upon inhalation, it interacts with cells in the

respiratory system—the throat, nose, mouth, airways, and lungs—immediately

causing damage and inflammation. This inflammation may result in coughing, throat

irritation, pain, a sensation of burning or tightness, wheezing, or shortness of

breath.13

         Ozone pollution can affect everyone, even healthy people with no

predisposition to respiratory illness. One study conducted in Galveston, Texas,

tracked the lung function of healthy beach lifeguards in relation to changes in ozone




12
  Ira B. Tager et al., Chronic Exposure to Ambient Ozone and Lung Function in
Young Adults, 16 Epidemiology 751, 758 (2005); see Ke Zu et al., Concentration-
Response of Short-Term Ozone Exposure and Hospital Admissions for Asthma in
Texas, 104 Env’t Int’l 139, 142–43 (2017); Heather M. Strosnider et al., Age-Specific
Associations of Ozone and Fine Particulate Matter with Respiratory Emergency
Department Visits in the United States, 199 Am. J. Respir. & Crit. Care Med. 882,
887 (2019).
13
     Integrated Science Assessment, supra note 10, at Table ES-1.

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levels and found that, even in this otherwise healthy population, lung function

decreased as ozone levels increased.14

         The damage ozone causes to the respiratory system is akin to the damage sun

causes to skin: even though exposure can cause lasting damage, acute symptoms

generally resolve within a few days.15 However, short-term exposure can still cause

severe effects. For example, a recent study covering 17 states and 45 percent of the

U.S. population found that elevated ozone levels correlate with an increase in

emergency department visits across all age groups, and particularly among people

younger than 65.16

         Indeed, children—and particularly children with asthma—are especially

susceptible to the effects of ozone pollution. Children tend to be more susceptible

because their lungs and immune systems are not yet fully developed, their smaller




14
  Ephraim I. Thaller et al., Moderate Increase in Ambient PM2.5 and Ozone are
Associated with Lung Function Decreases in Beach Lifeguards, 50 J. Occupational
& Env’t Med. 202, 209–10 (2008).
15
  Ozone Pollution and Your Patients’ Health, EPA, https://www.epa.gov/ozone-
pollution-and-your-patients-health/course-outline-and-key-points-ozone        (last
updated June 20, 2024); see infra Part II.B (explaining that repeated exposure can
cause lasting damage).
16
     Strosnider et al., supra note 12, at 889.

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respiratory systems are more affected by even marginal levels of inflammation, and

they tend to be more active and spend more time outside than adults.17

         Studies have demonstrated a consistent relationship between short-term ozone

exposures and increases in emergency department visits for children with asthma.18

Even worse, increases in ozone levels have been associated with increased rates of

admission to the intensive care unit for severe asthma exacerbations in children.19

Particularly troubling is the fact that the spikes in pediatric hospitalizations are

observed even when ozone concentrations are far below the 70-ppb national

standard.20

         Short-term ozone exposure can exacerbate existing health conditions in

adults, too. Indeed, in adults with chronic obstructive pulmonary disease (“COPD”),



17
  Wanting Huang et al., Ozone Exposure and Asthma Attack in Children, 10
Frontiers in Pediatrics 1, 4 (2022); Matthew J. Strickland et al., Short-Term
Associations Between Ambient Air Pollutants and Pediatric Asthma Emergency
Department Visits, 182 Am. J. Respir. & Crit. Care Med. 307, 307 (2010).
18
     Strosnider et al., supra note 12, at 887.
19
  Robert A. Silverman & Kazuhiko Ito, Age-Related Association of Fine Particles
and Ozone with Severe Acute Asthma in New York City, 125 J. Allergy & Clinical
Immunology 367, 368 (2010).
20
   Strickland et al., supra note 17, at 309 (observing increase in pediatric hospital
admissions “at concentrations as low as 30 parts per billion”); see also Perry
Elizabeth Sheffield et al., Ambient Ozone Exposure and Children’s Acute Asthma in
New York City: A Case-Crossover Analysis, 14 Env’t Health 1, 1 (2015)
(recognizing “growing evidence of health effects occurring below the [national]
standard”).

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short-term ozone exposure is associated with hospitalization for exacerbations.21

Studies have also charted a link between short-term ozone exposure and an increased

risk of mortality.22 In a seminal study examining all deaths among Medicare

participants between 2000 and 2012—a total of 22 million deaths—changes in day-

to-day ozone exposure below the current ozone air quality standards were associated

with death.23

           B.   Long-term exposure to ozone pollution can cause lasting
                damage and chronic disease.

           Like repeated sunburns, repeated or prolonged exposure to ground-level

ozone likely is associated with lasting damage, even in otherwise healthy people.

Long-term ozone exposure can also exacerbate existing disease, cause new disease,

and lead to death.

           Prolonged exposure to ozone pollution, even at relatively low levels, is

associated with impaired lung function, even in children and adults who are

otherwise healthy. Studies following participants over years have documented a link

between long-term ozone exposure and chronically decreased lung function in



21
  Hui Gao et al., A Systematic Review and Meta-Analysis of Short-Term Ambient
Ozone Exposure and COPD Hospitalizations, 17 Int. J. Env’t Res. & Pub. Health
2130, 2130 (2020).
22
  Qian Di et al., Association of Short-Term Exposure to Air Pollution With Mortality
in Older Adults, 318 J. Am. Med. Ass’n 2446, 2449 (2017).
23
     Id.

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children, including healthy children without asthma.24 Likewise, a 20-year study of

middle-aged adults in Europe identified an association between higher long-term

ambient ozone concentrations and lower lung function.25 Even though the study

documented small declines in lung function from year to year, it concluded that the

“cumulative effect” of ozone exposure “over time can lead to a substantial reduction

in lung function,” even accounting for age-related declines.26

      Ozone exposure over longer periods can also exacerbate existing disease in

both children and adults. One study evaluated a cohort of more than 1,000 children

with asthma over a four-year period and found that repeated exposure to ozone

pollution resulted in increased airflow obstruction, rendering it even more difficult

for the affected children to breathe.27 Adults experience similar effects. A study of

smokers, for example, found a correlation between long-term ozone exposure and




24
  See John R. Balmes, Long-Term Exposure to Ozone and Small Airways: A Large
Impact?, 205 Am. J. Resp. & Crit. Care Med. 384, 384 (2022) (referencing existing
studies).
25
  Tianyu Zhao et al., Impact of Long-Term Exposure to Ambient Ozone on Lung
Function Over a Course of 20 Years (The ECRHS study): A Prospective Cohort
Study in Adults, 34 Lancet Regional Health – Europe 1, 10 (2023).
26
  Id.; see id. at 8 (explaining that the documented “reduction corresponds to a . . .
lung function impairment of up to 10 percent compared to the age-related decline”).
27
  Despo Ierodiakonou et al., Ambient Air Pollution, Lung Function, and Airway
Responsiveness in Asthmatic Children, 137 J. Allergy & Clin. Immunol. 390, 397–
98 (2016).

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diminished lung function, accelerated emphysema, worsened COPD, and an overall

deterioration in respiratory health.28

         Chronic exposure to ozone pollution is also associated with new disease. Here

again, the harms can develop in childhood. One study observed that children who

played multiple sports in high-ozone communities had a more than three-fold

increased risk of developing asthma 20 years later than people who did not

participate in youth sports or who played sports in areas with lower ozone

concentrations.29

         Long-term ozone exposure in adulthood is associated with the onset of

asthma, too. The risk of developing asthma as an adult is particularly high for people

who spend their careers living and working in areas with higher concentrations of

ground-level ozone.30 Indeed, researchers have observed that “ozone was more

strongly associated with” a formal diagnosis of adult-onset asthma than “any other

monitored pollutant.”31 Once again, cumulative exposure to even relatively low



28
  Laura M. Paulin et al., Association of Long-Term Ambient Ozone Exposure With
Respiratory Morbidity in Smokers, 180 JAMA Intern. Med. 106, 111–12 (2019).
29
  Rob McConnell et al., Asthma in Exercising Children Exposed to Ozone: A Cohort
Study, 359 Lancet 386, 388–90 (2002).
30
  William F. McDonnell et al., Long-Term Ambient Ozone Concentration and the
Incidence of Asthma in Nonsmoking Adults: The AHSMOG Study, 80 Env’t Rsch.
110, 118 (1999).
31
     Id. at 120.

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levels of ozone—including levels below the national standards—correlates with

diagnoses of adult-onset asthma.32 Similarly, long-term exposure to ozone pollution

is associated with the development of acute respiratory distress syndrome, a serious

and often fatal illness.33

         In addition to limiting lung function, exacerbating existing disease, and

causing new disease, exposure to ozone pollution over longer and repeated periods

can cause death. Multiple studies have identified this sort of correlation.34 One study,

for example, evaluated the risk of mortality among all Medicare recipients over a

12-year period and observed a “significant, linear relationship between seasonal




32
     Id. at 118 (referring to levels above 60 ppb).
33
   Lorraine B. Ware et al., Long-Term Ozone Exposure Increases the Risk of
Developing the Acute Respiratory Distress Syndrome, 193 Am. J. Respir. & Crit.
Care Med. 1143, 1145 (2016); John P. Reilly et al., Low to Moderate Air Pollutant
Exposure and Acute Respiratory Distress Syndrome after Severe Trauma, 199 Am.
J. Respir. & Crit. Care Med. 62, 65 (2019).
34
   See, e.g., Michael Jerrett et al., Long-Term Ozone Exposure and Mortality, 360
N.E. J. Med. 1085, 1092 (2009); Antonella Zanobetti & Joel Schartz, Ozone and
Survival in Four Cohorts With Potentially Predisposing Diseases, 184 Am. J. Resp.
& Crit. Care Med. 836, 839 (2011) (identifying particular risks among people with
specific chronic conditions, including congestive heart failure, a history of heart
attack, COPD, and diabetes).

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ozone levels” and death from all causes.35 This relationship held even in regions

where ozone concentrations never exceeded the 70-ppb national standard.36

           Other studies have highlighted that even people without a history of

respiratory disease are at risk. For example, a large study with 22 years of follow-up

found a significant association between long-term ozone exposure and death from

respiratory causes, even among adults who had no previous history of respiratory

disease at the time of study enrollment.37 The study ultimately documented a

significant association between long-term ozone exposure and death from a variety

of causes, including pneumonia, COPD, influenza, diabetes, and harm to the

cardiovascular system.38 As average ozone levels increased, so did the number of

documented deaths.39

                                  *       *       *




35
   Qian Di et al., Air Pollution and Mortality in the Medicare Population, 376 N.E.
J. Med. 2513, 2520 (2017).
36
     Id.
37
   Michelle Turner et al., Long-Term Ozone Exposure and Mortality in a Large
Prospective Study, 193 Am. J. Respir. & Crit. Care Med. 1134, 1139 (2016) (noting
that this finding “suggest[s] a role for O3 [ozone] in the development and
exacerbation of disease”).
38
     Id. at 1138–39.
39
     Id.

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       The science is clear: no one is safe from ozone pollution. It can harm the

young, the old, the healthy, and the sick. Short-term exposure can cause immediate

inflammation and breathing difficulties, and long-term exposure can cause disease

and death. These effects occur even at levels below the existing national standard.

Given this scientific consensus, there is no time to wait. If states cannot prepare

adequate implementation plans to mitigate ground-level ozone pollution, then EPA’s

plan must fill the void.

III.   The continued risks to public health underscore the importance of
       the Good Neighbor Plan.

       Arguments presented by amici in support of Petitioners—namely, that the

Plan is unnecessary, that the costs of the Plan outweigh its benefits, and that the Plan

is an overreach—are incorrect. At best, recent improvements in air quality show only

that the Clean Air Act works and that the Good Neighbor Plan should be

implemented. At worst, figures documenting improvements obscure the declines in

air quality in some regions and ignore the harms suffered by the people most

vulnerable to ozone pollution. Likewise, the benefits of the standards for human

health far outweigh the costs in EPA’s own analysis, and those benefits are likely an

undercount. Finally, the Good Neighbor Plan exists to limit interference with

modest, but essential, national ozone standards. This renders implementation of the

Plan even more important.




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         A.       Overall improvements in ozone levels obscure inequities
                  and lasting danger.

         To be sure, ozone concentrations have declined consistently since the 1970s

thanks in part to federal regulation of precursor pollutants. Between 1980 and 2022,

ground-level ozone concentrations decreased by 29 percent nationwide, from an

average of 93.6 ppb to 66.7 ppb.40 But these figures tell only half the story, and the

Chamber of Commerce errs in suggesting that recent improvements render the

benefits of the Good Neighbor plan “negligible.” Chamber Amicus Brief at 5–6.

         For one, the figures ignore the fact that many people continue to face

substantial risks from ozone pollution. More than 100 million people in the United

States—nearly one third of the population—still live in counties with dangerous

ozone concentrations that often exceed national standards.41 In fact, even though the

number of “unhealthy” ozone days within the past few years based on the Air Quality

Index fell to a 25-year low nationwide, “nearly twice as many counties worsened as

improved.”42




40
  Ozone Trends, EPA, https://www.epa.gov/air-trends/ozone-trends (last updated
Nov. 1, 2023).
41
   American Lung Association, State of the Air: 2024 Report, 19–20 (2024),
https://www.lung.org/getmedia/dabac59e-963b-4e9b-bf0f-73615b07bfd8/State-of-
the-Air-2024.pdf; see id. at 10 (explaining grading system).
42
     Id. at 20.

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      Further, “important socioeconomic and racial disparities in [ozone] exposure

continue to be observed” in the ozone mapping data.43 For example, Asian American

or Pacific Islander, Black, non-Hispanic, and Hispanic people continue to be more

likely than non-Hispanic white people to live in counties that do not meet national

air quality standards for ozone.44 Indeed, EPA recognized these disparities when it

prepared the Good Neighbor Plan. See 88 Fed. Reg. at 36,845–46, 36,859. These

disparities are particularly troubling because research suggests that Black people are

more vulnerable to death from ozone pollution than are other subpopulations.45

Studies also show that non-white children appear to be “more vulnerable to short-




43
  Heather L. Brumberg & Catherine J. Karr, Ambient Air Pollution: Health Hazards
to Children, 147 Pediatrics 1, 2 (2021) (referring to disparities in exposure to
particulate matter and ozone).
44
   Id.; see also Disparities in the Impact of Air Pollution, Am. Lung Ass’n,
https://www.lung.org/clean-air/outdoors/who-is-at-risk/disparities (last updated
Nov. 2, 2023) (referring to a 2011 study finding that “[n]on-Hispanic blacks
were . . . more likely to live in counties with worse ozone pollution”); State of the
Air, supra note 41, at 12 (explaining that people of color are 2.3 times as likely as
white people to live in a county with a failing grade).
45
 Mercedes Medina-Ramón & Joel Schwartz, Who is More Vulnerable to Die from
Ozone Air Pollution?, 19 Epidemiology 672, 678 (2008).

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term increases in ambient pollution, particularly O3 [ozone],” than white children.46

Their symptoms are also more likely to require inpatient medical attention.47

      Finally, the declines in ozone pollution are not expected to last without

intervention. As EPA recognized in the preamble to the Good Neighbor Plan, future

ozone concentrations are affected by both emissions and climate conditions. 88 Fed.

Reg. at 36,670. And recent assessments “project that climate change may lead to

future increases in summer ozone concentrations across the contiguous U.S.” if

emissions are not adequately managed. Id. Consistent with EPA’s findings, public

health experts have warned that “the impact of continued climate change on ozone-

related [emergency department] visits, a key marker for poor asthma control and a

predictor of mortality, may be pronounced” in the future.48 Given these present and

future risks, full implementation of the Good Neighbor Plan is critical now.




46
  Brooke A. Alhanti et al., Ambient Air Pollution and Emergency Department Visits
for Asthma: A Multi-City Assessment of Effect Modification By Age, 26 J. Exposure
Sci. & Env’t Epidemiology 180, 184 (2015).
47
   Shao Lin et al., Chronic Exposure to Ambient Ozone and Asthma Hospital
Admissions Among Children, 116 Env’t Health Persps. 1725, 1729 (2008) (detecting
an association between elevated ozone and increased asthma hospital admissions in
“young children, . . . Hispanics, [and] children living in poor communities”).
48
  Nicholas Nassikas et al., Ozone-Related Asthma Emergency Department Visits in
the US in a Warming Climate, 183 Env’t Rsch. 1, 1 (2020).

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         B.     Gripes about the cost of the Good Neighbor Plan ignore the
                substantial costs of failing to act.

         The Chamber also complains that implementation of the Good Neighbor Plan

“will impose significant costs on the economy.” Chamber Amicus Brief at 7

(capitalization altered). But given the harms ozone pollution causes to human health,

failing to act will also impose significant costs. For example, the Centers for Disease

Control has estimated the health costs of ozone pollution to be around $6.5 billion

annually nationwide.49 Other scientists estimate that without proper management,

the total annual costs of ozone-related emergency department visits alone are

expected to top $45 million per year by 2050.50 These figures also omit the human

costs of ozone exposure, including premature death, ozone-related chronic diseases,

and metabolic impacts, all of which affect quality of life for patients and their

families.

         Further, EPA’s analysis shows that the quantifiable health benefits of the

Good Neighbor Plan are greater than its costs. The agency estimates the public health

benefits of the Plan to be as much as $14 billion in 2026. 88 Fed. Reg. at 36,851




49
      Air   Pollution,     Ctrs.  for     Disease     Control    &     Prevention,
https://www.cdc.gov/climate-health/php/effects/air-pollution.html (last updated
Mar. 2, 2024); see also Kim Knowlton, et al., Six Climate Change-Related Events in
the United States Accounted for About $14 Billion in Lost Lives and Health Costs,
30 Health Affairs 2167, 2170 (2011) (conducting similar analysis).
50
     Nassikas et al., supra note 48, at 4.

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(identifying range of $3.2 billion to $14 billion in health benefits).51 Of those, the

health benefits specific to ozone reductions alone are expected to total more than

$9 billion annually. Id. at 36,850. And the net benefits of the Plan, even accounting

for costs of compliance, are expected to be as much as $14 billion in 2026. Id. at

36,851 (identifying range of $3.7 billion to $14 billion in net benefits). Of course,

this analysis also does not reflect the added unquantifiable benefits that come from

improved public health and welfare.

      Thus, the projected benefits to public health of reducing ozone pollution

exceed the Plan’s costs in every respect.

      C.     The Good Neighbor Plan exists to prevent interference with
             modest, but essential, national ozone standards.

      As noted above, even ozone concentrations below the existing 70-ppb national

standards harm human health.52 Indeed, this sort of concern has been documented in

study after study. One study stated that “even at low levels, well below the current

EPA standard, children’s lung function may be affected adversely by ozone




51
  See also EPA’s “Good Neighbor” Plan Cuts Ozone Pollution–Overview Fact
Sheet, EPA, 4 (2023), https://www.epa.gov/system/files/documents/2023-
03/Final%20Good%20Neighbor%20Rule%20Fact%20Sheet_0.pdf.
52
   Di et al., supra note 35, at 2520 (recognizing that health risks persist at ozone
levels below 70 ppb).

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exposure.”53 Another study found that healthy adults exposed to ozone levels of

70 ppb for 6.6 hours will experience meaningfully diminished lung function.54 And

a subsequent study reported that acute exposure to ozone for that same duration at a

level of even 60 ppb—that is, a level below the national standard—resulted in

inflammation and decreased lung function.55 That study’s authors warned that if

these effects were documented in otherwise healthy subjects, the effects on people

with preexisting disease, particularly asthma, were bound to be more severe.56

           Given those findings, the American Thoracic Society and American Lung

Association have long advocated for adoption of more protective national

standards—ideally, ones more stringent than the existing 70 ppb standards.57 This

discussion is not intended to suggest that the Good Neighbor Plan is infirm. Quite




53
  Stephanie M. Holm & John R. Balmes, Systematic Review of Ozone Effects on
Human Lung Function, 2013 Through 2020, 161 Chest 190, 198 (2022).
54
  Edward S. Schelegle et al., 6.6-Hour Inhalation of Ozone Concentrations from 60
to 86 Parts Per Billion in Healthy Humans, 180 Am. J. Respir. & Crit. Care Med.
265, 269–70 (2009).
55
  Chong S. Kim et al., Lung Function and Inflammatory Responses in Healthy
Young Adults Exposed to 0.06 ppm Ozone for 6.6 Hours, 183 Am. J. Respir. & Crit.
Care Med. 1215, 1219 (2011).
56
     Id.
57
   See Comment Letter of American Lung Association and American Thoracic
Society on 2015 National Standard (Mar. 17, 2015), available at
https://www.lung.org/getmedia/ffc022b1-ec37-4867-b9a2-af5d8ec578b2/national-
health-and-medical.pdf.pdf

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the opposite. It means that full implementation of the Plan is crucial. The Plan must

be carried out to ensure that the existing national standards for ozone are

implemented effectively to benefit the health and welfare of all communities.

                                 CONCLUSION

      For all these reasons, the petitions for review should be denied.

                                          Respectfully submitted,

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58
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                       CERTIFICATE OF COMPLIANCE

      This brief complies with the word limitation of Federal Rules of Appellate

Procedure 29(a)(5) and 32(a)(7)(B). The brief contains 4,985 words, excluding the

portions exempted by Federal Rule of Appellate Procedure 32(f) and D.C. Circuit

Rule 32(e)(1).

      This brief complies with the typeface requirements of Federal Rule of

Appellate Procedure 32(a)(5) and the typestyle requirements of Federal Rule of

Appellate Procedure 32(a)(6). The brief has been prepared in proportionally spaced

typeface using Microsoft Word and 14-point Times New Roman font.



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                         CERTIFICATE OF SERVICE

      I hereby certify that on June 24, 2024, I served the foregoing brief on all

registered parties through the D.C. Circuit’s electronic case filing (CM/ECF) system.

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